     Case 1:21-cv-03013-SAB    ECF No. 127     filed 09/12/22   PageID.1974 Page 1 of 2



 1                                                                        FILED IN THE
                                                                      U.S. DISTRICT COURT
                                                                EASTERN DISTRICT OF WASHINGTON

 2
                                                                 Sep 12, 2022    FILED IN THE
                                                                             U.S. DISTRICT COURT
                                                                       EASTERN DISTRICT OF WASHINGTON



                                                                       Sep 12, 2022
                                                                            SEAN F. MCAVOY, CLERK




 3                                                                   SEAN F. MCAVOY, CLERK


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 5
 6                       UNITED STATES DISTRICT COURT
 7                     EASTERN DISTRICT OF WASHINGTON
 8
 9 DEMETRIOS VORGIAS,
10        Plaintiff,                               No. 1:21-CV-03013-SAB
11        v.
12 COMMUNITY HEALTH OF CENTRAL                     ORDER RE: DR. BEN
13 WASHINGTON,                                     KITCHENS
14        Defendant.
15
16        The Court held a pretrial conference in the above-captioned matter on
17 August 31, 2022 in Yakima, Washington. Plaintiff was represented by William
18 Pickett. Defendant was represented by Catharine Morisset and Clarence Belnavis.
19        At the pretrial conference, the Court stated that it was reserving ruling on
20 Request #13 in Defendant’s Motion in Limine, ECF No. 99, which requested that
21 the Court exclude any testimony by Dr. Ben Kitchens related to Plaintiff’s job
22 skills or job performance. However, the Court stated that it would get the parties a
23 decision soon so they could plan their witness preparations accordingly.
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25 //
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28 //

     ORDER RE: DR. BEN KITCHENS # 1
     Case 1:21-cv-03013-SAB   ECF No. 127      filed 09/12/22   PageID.1975 Page 2 of 2



 1        Accordingly, IT IS HEREBY ORDERED:
 2        1.    Request #13 from Defendant’s Motion in Limine, ECF No. 99, is
 3 DENIED. Dr. Ben Kitchens is permitted to testify as a witness.
 4        IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
 5 this Order and provide copies to counsel.
 6        DATED this 12th day of September 2022.
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11                                       Stanley A. Bastian
12                               Chief United States District Judge
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     ORDER RE: DR. BEN KITCHENS # 2
